     Case: 23-5795     Document: 23       Filed: 06/12/2024   Page: 1




                 UNITED STATES COURT OF APPEALS
                      FOR THE SIXTH CIRCUIT
                    CASE NO. 23-5795 and 23-6108


HONORABLE ORDER OF KENTUCKY COLONELS, INC.

                     Plaintiff-Appellee
v.

KENTUCKY COLONELS INTERNATIONAL; GLOBCAL
INTERNATIONAL; ECOLOGY CROSSROADS COOPERATIVE
FOUNDATION, INC.; UNKNOWN DEFENDANTS

                     Defendants

DAVID J. WRIGHT

                     Defendant-Appellant


       APPELLEE’S RESPONSE TO APPELLANT’S MOTION
     FOR STAY OF JUDGMENTS PENDING APPEAL [DOC. 21]1

      Plaintiff, The Honorable Order of Kentucky Colonels, Inc. (“HOKC”),

by counsel, hereby tenders the following response to the Motion for Stay of

Judgments Pending Appeal tendered by Defendant David J. Wright

(“Wright”) [Doc. 21]. An identical motion was rejected by the District Court



1
 The instant motion also purports to be filed in Case No. 24-5511. Appellee’s
Motion to Dismiss that appeal is currently pending [Doc. 5 in Case No. 24-
5511]. Because the Notice of Appeal in that matter was improperly filed by
Wright purportedly on behalf of corporate entities and Wright is not a licensed
attorney, the Notice of Appeal was stricken by the District Court [Doc. 22].
     Case: 23-5795        Document: 23   Filed: 06/12/2024   Page: 2




barely a month ago. The instant, equally frivolous, motion must be denied

because Wright has not, and cannot, establish any of the elements necessary

to support his request.

                                BACKGROUND
      On February 20, 2020, HOKC filed its Verified Complaint alleging,

among other things, that Wright and his affiliates misappropriated HOKC’s

federally registered trademark, KENTUCKY COLONELS, and engaged in

conduct constituting trade name infringement, unfair competition, false

designation of origin, and cyberpiracy. (Verified Complaint [DE 1]). During

the course of the litigation, the District Court entered a Temporary Restraining

Order [DE 14] and a Preliminary Injunction [DE 58] finding, on multiple

occasions, that HOKC had established (1) a likelihood of success on the merits

of its claim; (2) that it would suffer irreparable harm in the absence of an

injunction; (3) that any potential harm to Wright if an injunction was granted

was outweighed by the potential harm to HOKC; and (4) that the public

interest was best served by enjoining Wright’s activities. (8/13/20 Order [DE

58], PageID #1221-1229). On February 23, 2021, the District Court entered

an Agreed Permanent Injunction prohibiting Wright and his affiliates from

“using the KENTUCKY COLONELS Mark, or any mark that is confusingly

similar to the KENTUCKY COLONELS Mark” in connection with the sale



                                         2
     Case: 23-5795     Document: 23    Filed: 06/12/2024    Page: 3




of goods or services, the solicitation of charitable donations, or the formation

of any membership organization or charitable fundraising endeavor. (Agreed

Permanent Injunction [DE 93], PageID #2057). Wright knowingly agreed to

the restrictions in the Agreed Permanent Injunction to resolve the claims made

against him in HOKC’s Verified Complaint.

      Wright began violating the Agreed Permanent Injunction in May 2022.

After conducting an extensive evidentiary hearing, the District Court found

Wright in contempt of the Agreed Permanent Injunction and awarded HOKC

damages resulting from Wright’s violation of that order. (8/9/23

Memorandum Opinion and Order [DE 129], PageID #3714). The District

Court further ordered that Wright and his affiliates were “required to abide by

the Agreed Permanent Injunction Order that remains in place and are

ORDERED TO CEASE USE OF THE KENTUCKY COLONELS

TRADEMARK.” Id. at PageID #3726 (emphasis added).

      By Order dated November 13, 2023, the District Court awarded HOKC

attorneys’ fees and costs incurred in prosecuting the motion for contempt. The

District Court found that the fee requested by HOKC ($94,254.75) was

reasonable inasmuch as the case required substantial time and labor “due

solely to Defendants’ continual contemptuous conduct and myriad demands.”

(11/13/23 Order [DE 138], PageID #3843). The District Court noted that “all


                                       3
     Case: 23-5795     Document: 23     Filed: 06/12/2024    Page: 4




attorneys’ fees incurred since the entry of the [Agreed Permanent Injunction]

stem from Defendants’ unwillingness to comply with their own negotiated

terms.” (Id. at PageID #3844). Nevertheless, the District Court awarded only

ten percent of HOKC’s fees because of “Wright’s financial condition.” Id.

The District Court believed that the fee award would still be “sufficient to

reflect the seriousness of Wright’s contemptuous conduct and promote

deterrence.” Id. (emphasis added).

      On January 22, 2024, Wright filed his Motion to Stay Judgments in the

District Court [DE 145]. As grounds for that motion, Wright argued that (1)

the purpose of the lawsuit was to suppress Wright’s “protected activity;” (2)

the case constituted a Strategic Lawsuit Against Public Participation; (3) the

case was merely a “colorable claim;” (4) the case was “erroneously framed”

by the District Court; and (5) the case “suffers from its procedural posture.”

(Id. at PageID #3892-94). By Memorandum Opinion and Order dated April

22, 2024 [DE 149], the District Court denied Wright’s motion to stay, finding

that he failed to establish a likelihood of success on the merits and that “[a]ny

claim that [he] will be irreparably harmed by enforcement of the Agreed Order

– an outcome he negotiated and consented to – is unconvincing.” (Id. at

PageID #3943).




                                       4
     Case: 23-5795     Document: 23    Filed: 06/12/2024    Page: 5




      Now, Wright asks this Court to stay enforcement of the judgments on

the grounds that they “pose a substantial economic burden compromising [his]

ability to conduct business effectively and maintain the value of intangible

intellectual property assets as his creative works.” (Motion [Doc. 21], 9). In

addition, Wright claims that efforts to enforce the judgments are causing him

“reputational harm.” Id. 2 The District Court fully considered these same

assertions in denying the identical motion to stay. There is no legal or

equitable basis to stay enforcement of the District Court’s orders.

                                ARGUMENT

      I.       WRIGHT’S MOTION TO STAY ENFORCEMENT OF
               THE JUDGMENTS MUST BE DENIED.

      Although different rules of procedure govern the power of district

courts and circuit courts to stay an order pending appeal, under both rules, the

factors regulating the issuance of a stay are the same. Hilton v. Braunskill,

481 U.S. 770, 776 (1987) (under both Fed.R.Civ.P.62 and Fed.R.App. 8(a),

“the factors regulating the issuance of a stay are generally the same”). Those

factors are:


2
  Wright also argues that the corporate entities for which he improperly filed
a Notice of Appeal in Case No. 24-5511 are enduring “severe consequences”
threatening “the viability of a business.” Id. Wright’s assertions regarding
the alleged loss of business contracts, operational challenges, and “solvency”
call into question the validity of the representations he has repeatedly made
regarding his alleged pauper status.


                                       5
     Case: 23-5795    Document: 23     Filed: 06/12/2024    Page: 6




      (1)   That the petitioner is likely to prevail on the merits on appeal;
      (2)   That the petitioner is likely to suffer irreparable harm if the stay
            is denied;

      (3)   That other parties involved will not be substantially harmed by
            the granting of the stay; and
      (4)   That granting the stay will serve the public interest.

Grutter v. Bollinger, 247 F.3d 631, 632-33 (6th Cir. 2001); Miner v. Ogemaw

County Road Commission, 647 F. Supp.3d 582, 584 (E.D. Mich. 2022).

Wright cannot establish any of these elements.

      The only issues in this appeal are (1) whether the District Court erred

when it found Wright in contempt of the Agreed Permanent Injunction; (2)

whether the District Court erred when it ordered Wright to pay $7,500 in

compensatory sanctions for failure to abide by the Agreed Permanent

Injunction; and (3) whether the District Court erred when it ordered Wright to

pay $9,425 in attorneys’ fees and $1,052.25 in costs as a sanction for his

contempt of the Agreed Permanent Injunction. The instant motion makes no

effort to demonstrate how Wright is likely to prevail on those issues. That is

because he will not prevail. The District Court has inherent power to enforce

the Agreed Permanent Injunction. See Peacock v. Thomas, 516 U.S. 349, 356

(1996). It is firmly established that “the power to punish for contempt is

inherent in all courts.” Chambers v. NASCO, Inc., 501 U.S. 32, 44 (1991).

HOKC provided clear and convincing evidence of Wright’s contempt of the

                                      6
     Case: 23-5795     Document: 23      Filed: 06/12/2024   Page: 7




Agreed Permanent Injunction, and that evidence is described in detail in the

District Court’s orders. Wright utterly fails to create any doubt as to the

justification for the District Court’s rulings.

      Rather than focus on the issues actually on appeal, the instant motion

attempts to reargue the merits of HOKC’s underlying infringement claim.

Those issues were resolved by settlement and dismissed with prejudice by

agreed order in February 2021 (2/23/21 Agreed Order of Dismissal [DE 94],

PageID #2060).       The litany of complaints Wright offers regarding the

temporary restraining order, preliminary injunction, court mediated

settlement, and other matters occurring prior to February 23, 2021 have no

relevance to the merits of the current appeal.

      Moreover, the issue in a contempt proceeding is “not whether anyone

infringed Plaintiff’s protected marks, but whether Defendants and their agents

have violated the permanent injunction.” Innovation Ventures, LLC v. N2G

Distributing, Inc., 763 F.3d 524, 546 (6th Cir. 2014). When considering a

contempt motion, the court does not look beyond the terms of the permanent

injunction itself. Wella Corp. v. Wella Graphics, Inc., 37 F.3d 46, 48 (2nd




                                        7
     Case: 23-5795     Document: 23     Filed: 06/12/2024    Page: 8




Cir. 1994). Thus, Wright’s attempt to reargue the merits of the underlying

infringement action is misplaced and completely unavailing. 3

      Likewise, Wright cannot establish that he will suffer irreparable injury

if the stay is denied. While he claims that he and the corporate entities that he

controls have been damaged by the District Court’s orders, that damage is

completely self-inflicted. As the District Court noted, the contempt order and

sanctions were entirely the result of Wright’s unwillingness to comply with

his own negotiated terms. (11/13/23 Order [DE 138], PageID #3814). He

knowingly agreed to the restrictions in the Agreed Permanent Injunction to

resolve the claims made against him, and then violated the terms to which he

agreed. A stay would only permit Wright to avoid the consequences of his

own misconduct.4


3
  Even if Wright’s attempted justifications for his misappropriation of the
KENTUCKY COLONELS Mark were at issue on appeal, his excuses have
been repeatedly rejected. (See 8/9/23 Memorandum Opinion and Order [DE
129], PageID #3720-21). While the instant motion promises “new factual
judicially noteworthy evidence,” Wright fails to identify what that evidence is
or provide credible proof that such evidence actually exists. In fact, the instant
motion offers only hysterical allegations and vitriolic rhetoric in support of
his assertion that the District Court’s well reasoned and factually supported
contempt finding will be reversed.
4
 Wright also appears to seek a stay of enforcement of the Agreed Permanent
Injunction. Wright has the gall to make this request even though, to this day,
he brazenly continues to violate the Agreed Permanent Injunction. (See
Response and Objection to Defendant’s Motion for Unbonded Stay of
                                                               (continued…)

                                        8
     Case: 23-5795    Document: 23     Filed: 06/12/2024   Page: 9




      In addition, it is clear that other parties will certainly be harmed by

granting of a stay.       HOKC has been fighting Wright’s efforts to

misappropriate its protected mark for more than four years. A settlement of

HOKC’s claims against Wright was reached in February 2021.                That

settlement was negotiated by Wright, approved by Wright, and signed by

Wright. The Agreed Permanent Injunction Order was the cornerstone of that

settlement. Barely more than a year after the agreement was reached, Wright

began yet another crusade to personally profit by misappropriating the

KENTUCKY COLONELS Mark. Granting Wright’s motion to stay would

sanction Wright’s conscious, intentional, and brazen disregard of the terms of

the settlement, effectively giving him permission to ignore the Agreed

Permanent Injunction and the District Court’s specific order that he stop using

the KENTUCKY COLONEL Mark. Such action would certainly cause harm

to HOKC.

      Finally, the public interest will clearly be harmed if this Court stays

enforcement of the judgments, thereby approving Wright’s continued



Enforcement of Judgments [DE 146], PageID #3902, footnote 2;
Supplemental Response and Objection to Defendant’s Motion for Unbonded
Stay of Enforcement of Judgments [DE 148], PageID #3827-3828). Not only
have the District Court’s efforts to “promote deterrence” failed, but Wright
demands this Court endorse his continued contemptuous conduct by
effectively nullifying the District Court’s rulings.


                                      9
     Case: 23-5795    Document: 23    Filed: 06/12/2024    Page: 10




violation of the Agreed Permanent Injunction. Litigants cannot simply ignore

court orders, especially when they expressly agreed to be bound by that order.

Wright is attempting to mislead the public by soliciting charitable

contributions, marketing products, offering services, and establishing

competing organizations using the KENTUCKY COLONELS Mark.

Allowing such deception to continue would clearly be harmful to the public

interest.

                              CONCLUSION

       Wright cannot establish that he is entitled to a stay of enforcement of

the Agreed Permanent Injunction or the orders awarding HOKC damages and

attorneys’ fees. His motion to stay must be denied.

                                       Respectfully submitted,

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                                     10
      Case: 23-5795   Document: 23     Filed: 06/12/2024    Page: 11




                       CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the foregoing Appellee’s
Response to Motion for Stay of Judgments Pending Appeal has been served
upon the following, by U.S. mail and/or electronic mail, on this the 12th day
of June, 2024:
 David J. Wright
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                                        /s/ Cornelius E. Coryell II

                                        Counsel for Plaintiff/Appellee the
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                                        Colonels, Inc.
101638477.1




                                       11
